        Case 3:20-cv-00308-SDD-RLB             Document 22       06/04/20 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA


 TELISA CLARK, et al.,

        Plaintiffs,
                                                       Case No.: 3:20-cv-00308-SDD-RLB
 v.

 JOHN BEL EDWARDS, et al.,

        Defendants.



              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Plaintiffs Telisa Clark, Lakeshia Barnett, Martha Christian Green, Crescent City Media

Group (“CCMG”), and League of Women Voters Louisiana (“LWVLA”) (collectively,

“Plaintiffs”) respectfully move for a preliminary injunction restraining Defendants for all

upcoming 2020 elections from enforcing (1) the requirement to qualify for an excuse to vote by

absentee ballot (the “Excuse Requirement”), see La. Rev. Stat. § 18:1303; (2) the requirement to

have another person witness the absentee voter’s signature and then sign the absentee ballot

envelope (the “Witness Requirement”), see La. Rev. Stat. § 18:1306(E.)(2)(a)–(b); and (3) the

failure to provide absentee voters with notice of defects with their mail-in absentee ballot and an

opportunity to cure such defects so that their votes may be counted (the “Cure Prohibition”), see

La. Rev. Stat. § 18:1313.

       The United States and Louisiana are facing an unprecedented global pandemic that

epidemiologists predict will continue into the fall, when the general election in November is

expected to draw high voter turnout. As a result of the COVID-19 crisis, Louisiana election

officials, including Defendants Governor Edwards and Secretary of State Ardoin have already
         Case 3:20-cv-00308-SDD-RLB              Document 22       06/04/20 Page 2 of 6




concluded that the state’s voting rules must change to protect voters and ensure safe, free, fair, and

equal elections during the pandemic. They simply have not adequately alleviated the burdens of

voting during a pandemic. In these circumstances, Plaintiffs are substantially likely to succeed on

their claims that the Excuse Requirement, Witness Requirement, and Cure Prohibition violate their

constitutional rights.

        First, Plaintiffs seek to enjoin the Excuse Requirement on behalf of all Louisiana voters

during 2020 elections. Despite the Emergency Election Plan expanding eligibility for absentee

voting for the July and August elections, voters like Plaintiffs Barnett and Green and Plaintiff

LWVLA’s members, who live in the same household with family members who have health

conditions that make them high risk for COVID-19, do not qualify for an excuse for any 2020

election. These voters must vote in person, which requires them to choose between voting and the

health of their family. And voters like Plaintiff Clark, who qualify to vote by absentee ballot for

the July and August election because of her health condition under the Emergency Election Plan,

must vote in person in the November and December elections because the Emergency Election

Plan does not extend past August. Plaintiff Clark and voters like her must therefore choose between

her health and her right to vote. The Excuse Requirement creates a severe burden on all voters’

fundamental right to vote and, for voters like Plaintiff Clark, creates an unconstitutional condition

on the right to vote compelling forfeiture of the right to bodily integrity.

        Second, Plaintiffs seek to enjoin the Witness Requirement for all voters in 2020 elections.

By requiring voters—especially high-risk voters—to break their isolation or recommended social

distancing guidelines to sign their absentee ballot in the presence of a witness who then signs the

absentee ballot envelope in turn, the Witness Requirement creates an unreasonable burden on




                                                  2
         Case 3:20-cv-00308-SDD-RLB               Document 22       06/04/20 Page 3 of 6




absentee voters’ fundamental right to vote under the U.S. Constitution and creates an

unconstitutional condition on the right to vote compelling forfeiture of the right to bodily integrity.

        The Witness Requirement and Excuse Requirement frustrate the missions of Plaintiffs

CCMG and LWVLA and cause them to divert limited resources to mitigate the harm caused by

requiring voters to risk exposure to COVID-19 by voting in person or finding a witness for an

absentee ballot.

        Finally, Plaintiffs seek to enjoin the Cure Prohibition for all absentee voters in 2020

elections. Louisiana law provides absentee voters no notice of or opportunity to cure defects in

their absentee ballot so that it may be counted. For Plaintiff Clark, Plaintiff LWVLA members

eligible to vote by absentee ballot, and voters like them, the Cure Prohibition violates their right

to procedural due process during the absentee ballot process. Plaintiffs also seek a preliminary

injunction ordering Defendants to implement a process by which voters may cure material defects

in their returned absentee ballots so that they may be counted.

        Unless the Excuse Requirement and Witness Requirement are enjoined, Plaintiffs will be

forced to choose between exercising their fundamental right to vote and protecting their health or

the health of their loved ones. If the Cure Prohibition is not enjoined and a process is not

implemented for voters to cure material defects in their returned absentee ballot, Plaintiff Clark

and Plaintiff LWVLA’s members, like many Louisiana voters who will be voting by mail for the

first time, will be denied their right to procedural due process and risk losing their right to vote.

        Plaintiffs are also entitled to relief because they will suffer irreparable harm absent relief

and traditional legal remedies will not adequately protect their rights. Further, the harm to Plaintiffs

and other Louisiana voters outweighs any putative harm to the Defendants. Finally, the relief

sought by Plaintiffs is clearly in the public interest.



                                                   3
         Case 3:20-cv-00308-SDD-RLB              Document 22        06/04/20 Page 4 of 6




        To protect their rights, their lives, the lives of their loved ones, and the rights and lives of

Louisianans like them during the COVID-19 pandemic, Plaintiffs respectfully request this Court

enter a preliminary injunction for the July, August, November, and December 2020 elections that

(1) enjoins Defendants from enforcing the Excuse Requirement, La. Rev. Stat. § 18:1303; (2)

enjoins Defendants from enforcing the Witness Requirement, La. Rev. Stat. § 18:1306(E.)(2)(a)–

(b); (3) orders Defendants to implement a process by which voters are given notice of and an

opportunity to cure any material defects in their returned absentee ballots so that they may be

counted; and (4) orders Defendants to educate all voters about the injunction, in coordination with

parish and local officials.




                                                   4
       Case 3:20-cv-00308-SDD-RLB   Document 22      06/04/20 Page 5 of 6




DATED this 1st day of June, 2020.        Respectfully submitted,

                                         /s/ Caren E. Short

                                         Caren E. Short*
                                         Nancy G. Abudu*
                                         SOUTHERN POVERTY LAW CENTER
                                         P.O. Box 1287
                                         Decatur, GA 30031
                                         P: (404) 521-6700
                                         F: (404) 221-5857
                                         caren.short@splcenter.org
                                         nancy.abudu@splcenter.org

                                         Danielle E. Davis, La. Bar No. 37995
                                         SOUTHERN POVERTY LAW CENTER
                                         P.O. Box 57089
                                         New Orleans, LA 70157
                                         T: (504) 486-8982
                                         C: (504) 376-7085
                                         F: (504) 486-8947
                                         danielle.davis@splcenter.org

                                         Jon Sherman* (D.C. Bar No. 998271)
                                         Michelle Kanter Cohen* (D.C. Bar No.
                                         989164)
                                         Cecilia Aguilera* (D.C. Bar No. 1617884)
                                         Fair Elections Center
                                         1825 K St. NW, Ste. 450
                                         Washington, D.C. 20006
                                         P: (202) 331-0114
                                         jsherman@fairelectionscenter.org
                                         mkantercohen@fairelectionscenter.org
                                         caguilera@fairelectionscenter.org

                                         John A. Freedman*
                                         ARNOLD & PORTER
                                         KAYE SCHOLER LLP
                                         601 Massachusetts Avenue, N.W.
                                         Washington, D.C. 20001
                                         P: (202) 942-5000
                                         John.Freedman@arnoldporter.com

                                         *Admitted pro hac vice

                                         Attorneys for Plaintiffs

                                     5
        Case 3:20-cv-00308-SDD-RLB             Document 22       06/04/20 Page 6 of 6




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 1, 2020, I electronically filed the foregoing motion with the

Court’s CM/ECF system, which will send notice of electronic filing to counsel of record who are

registered participants of the Court’s CM/ECF system. I further certify that I sent the foregoing

document by electronic mail to counsel of record who are not CM/ECF participants.



                                                     /s/ Caren E. Short
                                                     Counsel for Plaintiffs




                                                 6
